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                      IN THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   DUBLIN DIVISION

UNITED STATES OF AMERICA                    )
                                            )
       v.                                   )           CR 315-013
                                            )
MELISSA HAYDEN FRANCIS                      )
                                        _________

                                        ORDER
                                        _________

       Defendant Melissa Hayden Francis filed a motion to preserve evidence, including

rough notes of agents. (Doc. no. 110.) Defendant does not demand disclosure or production

of this evidence, merely preservation. While this material is not generally discoverable, it

may later during trial have probative value for purposes of impeachment.         The Court

GRANTS the motion, and the government is instructed to preserve all evidence in this case,

including rough notes authored by agents.

       SO ORDERED this 21st day of January, 2016, at Augusta, Georgia.
